Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 1 of 11 Pageid#: 794




                     EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 2 of 11 Pageid#: 795
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 3 of 11 Pageid#: 796
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 4 of 11 Pageid#: 797
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 5 of 11 Pageid#: 798
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 6 of 11 Pageid#: 799
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 7 of 11 Pageid#: 800
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 8 of 11 Pageid#: 801
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 9 of 11 Pageid#: 802
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 10 of 11 Pageid#:
                                    803
Case 3:17-cv-00072-NKM-JCH Document 174-1 Filed 01/04/18 Page 11 of 11 Pageid#:
                                    804
